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                    IN THE UNITED STATES DISTRICT COURT
                          WESTERN District of Arkansas
                             HARRISON DIVISION

JASON HARTLEY HELM                                                         PLAINTIFF

VS.                                 CASE NO. 3:21-cv-03035

CAPTAIN LOOKINGBILL, et al.                                             DEFENDANTS


                   DEFENDANT NURSE CARRIE KAUFFMAN’S
                    WAIVER OF THE SERVICE OF SUMMONS


To the Clerk of this Court and all parties of record:

       Please be advised that I have been retained to represent Defendant, Nurse Carrie

Kauffman, who has agreed to waive service of summons and complaint in this case. In

furtherance thereof, I certify as follows:

       1.     On July 19, 2021, pro se Plaintiff Jason Hartley Helm filed his Amended

Complaint naming “Nurse Kauffman” as a defendant. (ECF 14). Nurse Kauffman has been

identified as Carrie Kauffman, who works for a third-party medical company contracted

by Carroll County, Turn Key Health Clinics, LLC.

       2.     On July 27, 2021, an Order was issued by the Court directing the Clerk to

prepare a Summons for the named Defendants and the U.S. Marshal to serve the

Defendants. (ECF 15).

       3.     The U.S. Marshal’s Service sent the Amended Complaint and Summons via

certified mail addressed to Tiffany Chapman at the Carroll County Jail. (ECF 17, p.7). On
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August 6, 2021, a staff member at the Carroll County Jail accepted service on behalf of

Defendant Carrie Kauffman.

       4.     Carrie Kauffman was not an employee of the Carroll County Jail at the time

of service and the person who inadvertently accepted service was not authorized to accept

service of process for Carrie Kauffman. Therefore, Carrie Kauffman was unaware of the

Summons and Amended Complaint until on or about July 26, 2021.

       5.     The individual I represent, Defendant Carrie Kauffman, agrees to save the

expense of serving a summons and complaint in this case.

       6.     The individual I represent, Defendant Carrie Kauffman, understands that she

will keep all defenses or objections to the lawsuit, the court’s jurisdiction, and the venue

of this action, but that she waives any objections to the absence of a summons or of service.

       7.     The individual I represent, Defendant Carrie Kauffman, further understands

that she must file and serve an answer or a motion under Rule 12 within 60 days from

today’s date, and that failure to do so may result in a default judgment be entered against

Defendant.

Date: July 27, 2021
                                                  Respectfully submitted,

Carrie Kauffman                                   s/ Alexandra G. Ah Loy
Printed Name of Party Waiving                     Alexandra G. Ah Loy, AR Bar #2020002
Service of Summons                                Chief Legal Officer
                                                  Turn Key Health Clinics, LLC
                                                  900 NW 12th Street
                                                  Oklahoma City, OK 73106
                                                  Telephone: (405) 516-0276
                                                  Facsimile: (405) 920-3016
                                                  E-Mail: allie@turnkeyhealthclinics.com
                                                  Attorney for Defendant Carrie Kauffman
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                             CERTIFICATE OF SERVICE

        I hereby certify that on July 27, 2021, I filed the attached document with the Clerk
of Court and served the attached document by first class mail on the following, who is not
a registered participant of the ECF System:

       Jason Hartley Helm, ADC #17290
       Carroll County Detention Center
       205 Hailey Road
       Berryville, AR 72616


                                          s/ Alexandra G. Ah Loy
